           Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.1 Page 1 of 11
AO I 06 (Rev. 04/ 10) Application for a Search Warrant

                                                                                                   1

                                        UNITED STATES DISTRICT Co
                                                                      for the                        RT [ N~-~~019
                                                          Southern District of California                    CL7·• l~- U,.:> DiS'.-H!C7 COUR T
                                                                                                       scu·n •r-Jii'-J C!SHIICT OF ,::t>.UFOR NIA
                                                                                                     5v                                    ~E PUTY
              In the Matter of the Search of                             )
         (Briefly describe the property to be searched                   )
          or identify the person by name and address)
         iPhone XS Max, Model : MT652LUA
                                                                         )
                                                                         )
                                                                                     Case No.
                                                                                                19MJ51
   SN: FFWXHU3WKPHC; IMEI: 357266093945620                               )
         Digital SIM IMEI: 357266094330079                               )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachments A & B.
located in the               Southern              District of               California          , there is now concealed (identify the
person or describe the property to be seized):

 See Attachments A & B.

          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more) :
                   ~ evidence of a crime;
                   0 contraband, fruits of crime, or other items illegally possessed;
                   0 property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
           Code Section                                                          Offense Description
       21 U.S .C. 952 and 960                       Importation of Controlled Substances and Prohibited Acts A.



           The application is based on these facts:
        See attached affidavit.

           r'lf   Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached s



                                                                                                Applicant 's signature

                                                                             Steven R. Merklein, Special Agent, Homeland Security Inv.
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date      11Asfu,,,                                                                                                       .....

City and state:       ,_M,., D;~;                        cA                   Hon . Andrew G. Schopler United States Magistrate Judge
                                                                                                Printed name and title
          Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.2 Page 2 of 11




 1                                           AFFIDAVIT
 2           I, Special Agent Steven R. Merklein, being duly sworn, hereby state as follows:
 3                                        INTRODUCTION
 4           1.    I submit this affidavit in support of an application for a warrant to search the
 5 II following electronic device:
 611                     iPhone XS Max, Model: MT652LLIA
 7 II                    SN: FFWXHU3WKPHC
 8                       IMEI: 357266093945620
 9                       Digital SIM IMEI: 357266094330079
10                       Seized as FP&F: 2019250500009601
11 II .                  ("Target Device")
12 II as further described in Attachment A, and to seize evidence of crimes, specifically
13 II violations of Title 21, United States Code, Section(s) 952, 960, and 963, as further
14 described in Attachment B.
15           2.    The requested warrant relates to the investigation and prosecution of Jose
16 II Pablo JIMENEZ-Chaidez ("JIMENEZ-Chaidez") for importing approximately 18.76
17 II kilograms (41.35 pounds) of methamphetamine and approximately 11.48 kilograms (25.30
18 II pounds) of cocaine from Mexico into the United States. See US. v. Jimenez-Chaidez, Case
19 II No. 19-mj-3876 (S.D. Cal.) at ECF No. 1 (Complaint). The Target Device was seized from
20 II JIMENEZ-Chaidez at the time of his arrest, has been securely stored since that time, and
21 II is currently in the evidence vault located at 2255 Niels Bohr, San Diego, CA 92154.
22 II        3.    The information contained in this affidavit is based upon my training,
23 II experience, investigation, and consultation with other members of law enforcement.
24 II Because this affidavit is made for the limited purpose of obtaining a search warrant for the
25 II Target Device, it does not contain all the information known by me or other agents
26 II regarding this investigation. All dates and times described are approximate.
27 II
28 II

                                                  1
        Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.3 Page 3 of 11




 1                                       BACKGROUND
 211       4.     I am a special agent employed by the Department of Homeland Security ·
 3 II (DHS), Immigration and Customs Enforcement (ICE), Homeland Security Investigations
 411 (HSI). I have been employed as a special agent since November of 2018, whereby I am an
 5 II investigative or law enforcement officer within the meaning of Title 18, United States
 6 II Code, Section 2510(7); that is, an officer of the United States, who is empowered by law
 711 to conduct investigations of and to make arrests for offenses enumerated in Title 18, United
 8 II States Code, Section 2516. Prior to joining HSI, I was employed as a United States Border
 911 Patrol Agent (USBP). While employed as a Border Patrol Agent I served as a Task Force
10 II Officer (TFO) on a Drug Enforcement Administration (DEA) Narcotics Task Force and
11 II worked on both sector and station level intelligence & abatement teams. I also previously
1211 served in the United States Army from 1998 to 2004, serving as an infantry Non-
13 II Commissioned Officer. I received an Associates of Science in Criminal Justice degree
14 II from Springfield Technical Community College in 2002.
15 II      5.     During my employment as a border patrol agent and work as a TFO, I have
16 II conducted criminal investigations for multiple violations of federal and state laws
17 II including, but not limited to alien smuggling, narcotics smuggling, and organized criminal
18 II activity. I have conducted and/or assisted in more than 50 investigations involving
19 II controlled substances. I have participated in several controlled purchases of narcotics with
20 II the use of confidential informants ("Cis") and I have personally conducted hand-to-hand
21 II drug transactions while operating in an undercover capacity.       I have authored and/or
22 II participated in the execution of narcotic-related arrests and search warrants for violations
23 II involving controlled substances, including heroin, methamphetamine, cocaine, ecstasy,
24 II LSD, marijuana, and pharmaceuticals.       Through these investigations, I have gained
25 II extensive knowledge from users of narcotics, sellers of narcotics, Cis and veteran narcotics
26 II detectives regarding the manner in which narcotics are sold, distributed, transported,

2711 stored, concealed and ingested.
28

                                                 2
        Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.4 Page 4 of 11




 1         6.     In addition to my experience, I have received multiple formal trainings related
 2 II to conducting controlled substance investigations. These courses primarily focused on the
 3 II identification of controlled substances, case management/development, managing Cis,
 4 II tactical street operations, undercover operations, surveillance operations, highway
 5 II interdiction, hidden compartments and various methods of drug trafficking and human
 6 II smuggling. In addition to these courses, I was previously certified by the California
 7 II Attorney General to conduct wiretaps as authorized in California Penal Code Section
 8 11629.50 et seq.
 911       7.     Through my training, experience, and conversations with other members of
10 II law enforcement, I have gained a working knowledge of the operational habits of narcotics
11 II traffickers, in particular those who attempt to import narcotics into the United States from
12 II Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
13 II work in concert with other individuals and to do so by utilizing cellular telephones. Because
14 II they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
15 II out various tasks related to their trafficking activities, including, e.g., remotely monitoring
16 II the progress of their contraband while it is in transit, providing instructions to drug couriers,
17 II warning accomplices about law enforcement activity, and communicating with co-
18 II conspirators who are transporting narcotics and/or proceeds from narcotics sales.
19 II      8.     Based upon my training, experience, and consultations with law enforcement
20 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
21 II set forth in this affidavit, I know that cellular telephones (including their Subscriber
22 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
23 II for example, phone logs and contacts, voice and text communications, and data, such as
24 II emails, text messages, chats and chat logs from various third-party applications,
25 II photographs, audio files, videos, and location data. In particular, in my experience and
26 II consultation with law enforcement officers experienced in narcotics trafficking
27 II investigations, I am aware that individuals engaged in drug trafficking commonly store
28 II photos and videos on their cell phones that reflect or show co-conspirators and associates

                                                   3
            Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.5 Page 5 of 11




 1 II engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
 2 and assets from drug trafficking, and communications to and from recruiters and
 3 organizers.
 4              9.     This information can be stored within disks, memory cards, deleted data,
 5 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
 611 telephone. Specifically, searches of cellular telephones may yield evidence:
 7
                a.     tending to indicate efforts to import methamphetamine, or some other
 8                     federally controlled substance, from Mexico into the United States;
 9
                b.     tending to identify accounts, facilities, storage devices, and/or services-
10                     such as email addresses, IP addresses, and phone numbers-used to
                       facilitate the importation of methamphetamine, or some other federally
11
                       controlled substance, from Mexico into the United States;
12
                C.     tending to identify co-conspirators, criminal associates, or others involved
13
                       in importation of methamphetamine, or some other federally controlled
14                     substance, from Mexico into the United States;
15
                d.     tending to identify travel to or presence at locations involved in the
16                     importation of methamphetamine, or some other federally controlled
                       substance, from Mexico into the United States, such as stash houses, load
17
                       houses, or delivery points;
18
                e.     tending to identify the user of, or persons with control over or access to,
19
                       the Target Device; and/or
20
                f.     tending to place in context, identify the creator or recipient of, or establish
21
                       the time of creation or receipt of communications, records, or data involved
22                     in the activities described above.
23
                               FACTS SUPPORTING PROBABLE CAUSE
24
                10.    On September 10, 2019, at approximately 6:00 p.m., JIMENEZ-Chaidez
25   11
          applied for permission to enter the United States at the Tecate Port of Entry. The Defendant
2611
          was the driver and sole occupant of a Cadillac ATS bearing California license plates. At
27
     II the primary inspection JIMENEZ-Chaidez told a Customs and Border Protection ("CBP")
2811 Officer that he was going to "Escondido" and provided two negative customs declarations.

                                                       4
        Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.6 Page 6 of 11




 1
 2         11.     A Narcotics and Human Detection Dog alerted to the trunk area of the
 3 II vehicle while it was in line between the primary and secondary inspection area of the Port
 4 II of Entry. The canine officer pulled back the carpet on the inside of the trunk and found
 5 II multiple plastic wrapped packages. JIMENEZ-Chaidez was asked to exit the vehicle and
 6 II escorted to the security office. Further examination of the vehicle revealed packages in the
 7 II rear quarter panels and on the interior of the gas tank. A total of28 packages were removed
 8 II from the vehicle. Ten were red rectangular cellophane wrapped packages, with a total
 9 II weight of 11.48 kilograms (25.30 pounds); one of which was field-tested and tested
10 II positive for cocaine. The other 18 packages were white cellophane wrapped packages with
11 II a total weight of 18.76 kilograms (41.35 pounds); one of which was field-tested and tested
12 II positive for methamphetamine.
13 II      12.    JIMENEZ-Chaidez was advised of his Miranda rights and elected to answer
14 II questions without an attorney present. JIMENEZ-Chaidez also provided written consent to
15 II search his cellular phone, the Target Device. Agents were unable to complete a forensic
16 II download of the Target Device prior to JIMENEZ-Chaidez being appointed counsel,
17 II however. This warrant is sought in an abundance of caution and to moot a subsequent
18 II challenge to the validity of JIMENEZ-Chaidez' s consent or the effective date of revocation
19 of consent.
20         13.    Based upon my experience and investigation in this case, I believe that the
21 11 Target Device contains evidence of violations of Title 21, United States Code, Sections
22 11952, 960, and 963. Specifically, I believe that JIMENEZ-Chaidez, "Jesus," and other
23 II persons yet unknown were involved in an ongoing conspiracy to import methamphetamine,
24 II cocaine and other federally controlled substances into the United States. Based on my
25 II experience investigating narcotics smugglers, I also believe that JIMENEZ-Chaidez may
26 II have used the Target Device to coordinate with co-conspirators regarding the importation
27 II and distribution of controlled substances, and to otherwise further this conspiracy both
28 II inside and outside of the United States.

                                                 5
        Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.7 Page 7 of 11




 1 II      14.    In my training and experience, narcotics traffickers may be involved in the
 2 II planning and coordination of a drug smuggling event in the days and weeks prior to an
 3 II event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
 4 II attempt to communicate with a defendant after their arrest to determine the whereabouts of
 5 II the narcotics. Based on my training and experience, it is also not unusual for individuals to
 6 II attempt to minimize the amount of time they were involved in their smuggling activities,
 7 II and for the individuals to be involved for weeks and months longer than they claim. Given
 8 II this, I respectfully request permission to search the Target Device for data from July 11,
 9112019 through September 11, 2019, the day following JIMENEZ-Chaidez's arrest.
10 II                                   METHODOLOGY
11         15.   It is not possible to determine, merely by knowing the cellular telephone's
12 II make, model and serial number, the nature and types of services to which the device is
13 II subscribed, and the nature of the data stored on the device. Cellular devices today can be
14 II simple cellular telephones and text message devices, can include cameras, can serve as
15 II personal digital assistants and have functions such as calendars and full address books and
16 II can be mini-computers allowing for electronic mail services, web services and rudimentary
17 II word processing. An increasing number of cellular service providers now allow for their
18 II subscribers to access their device over the internet and remotely destroy all the data
19 II contained on the device. For that reason, the device may only be powered in a secure
20 II environment or, if possible, started in "flight mode" which disables access to the network.
21 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
22 II equivalents and store information in volatile memory within the device or in memory cards
23 II inserted into the device. Current technology provides some solutions for acquiring some of
24 II the data stored in some cellular telephone models using forensic hardware and software.
25 II Even if some of the stored information on the device may be acquired forensically, not all
26 II the data subject to seizure may be so acquired. For devices that are not subject to forensic
27 II data acquisition or that have potentially relevant data stored that is not subject to such
28 II acquisition, the examiner must inspect the device manually and record the process and the

                                                 6
        Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.8 Page 8 of 11




 1 II results using digital photography. This process is time and labor intensive and may take
 2 II weeks or longer.
 3 II       16.    Following the issuance of this warrant, I will collect the subject cellular
 4 II telephone and subject it to analysis. All forensic analysis of the data contained within the
 5 II telephone and its memory cards will employ search protocols directed exclusively to the
 6 II identification and extraction of data within the scope of this warrant.
 7 II       17.    Based on the foregoing, identifying and extracting data subject to seizure
 8 II pursuant to this warrant may require a range of data analysis techniques, including manual
 911 review, and, consequently, may take weeks or months. The personnel conducting the
10 II identification and extraction of data will complete the analysis within 90 days, absent
11 II further application to this court.
12                        PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
13          18.    Law enforcement has not previously attempted to obtain the evidence sought
14 11 by this warrant.
15                                         CONCLUSION
16          19.    Based on the facts and information set forth above, there is probable cause to
17 II believe that a search of the Target Device will yield evidence of JIMENEZ-Chaidez's
18 II violations of Title 21, United States Code, Sections 952, 960, and 963.
19 II       20.    Because the Target Device was seized at the time of JIMENEZ-Chaidez's
20 II arrest and has been securely stored since that time, there is probable cause to believe that
21 II such evidence continues to exist on the Target Device.
22 II       21.    Accordingly, I request that the Court issue a warrant authorizing law
23 enforcement to search the item described in Attachment A and seize the items listed in
24 Attachment Busing the above-described methodology.
25
26
27
28

                                                  7
                                                       I
      Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.9 Page 9 of 11




 1 II I swear the foregoing is true and correct to the best of my knowledge and belief.
 2
 3
 4
                                                     A
                                            Special Agent Steven R. Merklein
                                            Homeland Security Investigations
 Sil                                              ~
 6 11
      Subscribed and sworn to before me this   15    day ofNovember, 2019.

 7

 8
      on. Andrew G. Schopler
 911 United States Magistrate Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                8
 Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.10 Page 10 of 11



                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      iPhone XS Max, Model: MT652LL/A
      SN: FFWXHU3WKPHC
      IMEI:357266093945620
      Digital SIM IMEI: 357266094330079
      Seized as FP&F: 2019250500009601
      ("Target Device")

The Target Device is currently in the possession of Homeland Security
Investigations, 2255 Niels Bohr, San Diego, CA 92154.
Case 3:19-mj-05114-AGS Document 1 Filed 11/15/19 PageID.11 Page 11 of 11



                                  ATTACHMENTB

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period from July 10, 2019 through September 11, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations ofTitle 21, United States Code, Sections 952,960, and
963.
